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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA             )
                                     )
v.                                   )     Case No. 21-cr-00035-EGS
                                     )
RONALD COLTON McABEE,                )
                                     )
      Defendant.                     )



                             NOTICE OF APPEAL

      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby

given that Defendant Ronald Colten McAbee, hereby appeals to the United

States Court of Appeals for the District of Columbia Circuit from the Order of

this Court entered on September 3, 2022, denying Defendant’s Motion for

Reconsideration of Detention.


Dated: September 12, 2022                        Respectfully submitted,

                                                 /s/ William L. Shipley
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